









 












&nbsp;

IN THE

TENTH COURT OF
APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-05-00055-CV

&nbsp;

In re J.J., M.D.

&nbsp;

&nbsp;



Original
Proceeding

&nbsp;



MEMORANDUM Opinion



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator’s petition for writ of mandamus is denied.

&nbsp;

TOM GRAY

Chief Justice

Before Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna

Petition denied

Memorandum opinion delivered and filed May 4, 2005

[CV06]





